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                 IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                         NORTHERN DISTRICT OF MISSISSIPPI

IN RE: WESLEY L BAILEY dba P&B LOGGING, LLC dba LOG’AN HAUL, LLC
       dba MIDSOUTH LOG & PULP LLC dba NORTH MS TIMBER HARVESTING, LLC
       dba LOGAN BAILEY CONSTRUCTION, LLC
       aka LOGAN BAILEY                                         DEBTOR(S)
                                                     CASE NO. 19-10350-JDW
                                                               CHAPTER 13
FORD MOTOR CREDIT COMPANY LLC                                    CREDITOR

                        OBJECTION TO CONFIRMATION OF PLAN

       COMES NOW Ford Motor Credit Company LLC (FMCC), by counsel, and for its objection

to confirmation of the proposed Chapter 13 Plan says:

       1.      FMCC holds a secured claim covering a 2014 Ford F-250 vehicle. Debtor proposed

to pay FMCC a value of $15,050.00, plus 2.9% interest.

       2.      The replacement value of this collateral is $23,975.00. FMCC should be paid its net

balance owed of $15,946.94, plus the current Till rate of 6.75% interest. Further, FMCC should

retain its lien until the Debtor receives a discharge.

       3.      The Chapter 13 Plan does not comply with the provisions of the Bankruptcy Code,

the Plan should not be confirmed, and the case should be dismissed.

       WHEREFORE, FMCC objects to confirmation as aforesaid and requests that this case be

dismissed; and FMCC requests such other relief to which it may be entitled in the premises.

                                                         Respectfully submitted,

                                                         FORD MOTOR CREDIT COMPANY LLC


                                               by:       /s/Olivia Spencer, Its Attorney

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                                 CERTIFICATE OF SERVICE

       I, Olivia Spencer, Attorney for Ford Motor Credit Company, LLC, do hereby certify that I

have this day caused to be served, via CM/ECF and/or United States Postal Service, a true and

correct copy of the above and foregoing “Objection to Confirmation of Plan” to:

                                 Karen B. Schneller, Esq.
                                 karen.schneller@gmail.com
                                 ATTORNEY FOR DEBTOR(S)

                                 Locke D. Barkley
                                 sbeasley@barkley13.com
                                 TRUSTEE

                                 David W. Asbach
                                 USTPRegion05.JA.ECF@usdoj.gov
                                 U.S. TRUSTEE

       SO CERTIFIED this the 1st day of March 2019.

                                                   /s/Olivia Spencer

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